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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

BRENDA MARCELL OWEN,

        Plaintiff,
                                                 Case No. 18-cv-997-wmc
   v.

UNKNOWN,

        Defendant.


                              JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this case

without prejudice.




        /s/                                               6/7/2021
        Peter Oppeneer, Clerk of Court                           Date
